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                                                         - 495 -
                             Nebraska Court of Appeals Advance Sheets
                                  33 Nebraska Appellate Reports
                                                 STATE V. SANCHEZ
                                                Cite as 33 Neb. App. 495



                                        State of Nebraska, appellee, v.
                                         Tina M. Sanchez, appellant.
                                                     ___ N.W.3d ___

                                          Filed March 11, 2025.    No. A-24-636.

                 1. Constitutional Law: Search and Seizure: Motions to Suppress:
                    Appeal and Error. In reviewing a trial court’s ruling on a motion to
                    suppress based on a claimed violation of the Fourth Amendment, an
                    appellate court applies a two-part standard of review. Regarding histori-
                    cal facts, an appellate court reviews the trial court’s findings for clear
                    error. But whether those facts trigger or violate Fourth Amendment
                    protections is a question of law that an appellate court reviews indepen-
                    dently of the trial court’s determination.
                 2. Trial: Investigative Stops: Warrantless Searches: Appeal and Error.
                    The ultimate determinations of reasonable suspicion to conduct an
                    investigatory stop and probable cause to perform a warrantless search
                    are reviewed de novo, and findings of fact are reviewed for clear error,
                    giving due weight to the inferences drawn from those facts by the
                    trial judge.
                 3. Investigative Stops: Motor Vehicles: Police Officers and Sheriffs:
                    Probable Cause. A traffic violation, no matter how minor, creates prob-
                    able cause to stop the driver of a vehicle.
                 4. ____: ____: ____: ____. In reviewing a challenge to the legality of an
                    automobile stop, the question is not whether the officer issued a cita-
                    tion for a traffic violation or whether the State ultimately proved the
                    violation; instead, a stop of a vehicle is objectively reasonable when
                    the police officer has probable cause to believe that a traffic violation
                    has occurred.
                 5. Motor Vehicles. Pursuant to the language of Neb. Rev. Stat. § 60-6,161
                    (Reissue 2021), no person shall turn onto a roadway without signaling
                    the turn. This is true whether the vehicle is initiating the turn from a
                    private parking lot or from another roadway.
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         Nebraska Court of Appeals Advance Sheets
              33 Nebraska Appellate Reports
                           STATE V. SANCHEZ
                          Cite as 33 Neb. App. 495

 6. Investigative Stops: Motor Vehicles: Police Officers and Sheriffs:
    Probable Cause. Probable cause to stop a vehicle is analyzed under
    an objective reasonableness standard, and thus, an officer’s subjective
    intent or motivation is not relevant.
 7. Investigative Stops: Motor Vehicles. As long as a traffic violation
    occurred, any purported ulterior motive for the stop is irrelevant.

  Appeal from the District Court for Scotts Bluff County:
Andrea D. Miller, Judge. Affirmed.
   Michael W. Meister, Scotts Bluff County Public Defender,
for appellant.
 Michael T. Hilgers, Attorney General, and Jacob M.
Waggoner for appellee.
  Riedmann, Chief Judge, and Bishop and Arterburn,
Judges.
   Arterburn, Judge.
                         INTRODUCTION
   After a stipulated bench trial in the district court for Scotts
Bluff County, Tina M. Sanchez was convicted of possession
of a controlled substance (methamphetamine) with intent to
distribute, failure to affix a drug tax stamp, possession of drug
paraphernalia, and possession of an open alcoholic container
in a vehicle. Sanchez appeals her convictions. On appeal, she
alleges that the district court erred in denying her motion to
suppress the evidence found in the course of a traffic stop of
the vehicle in which she was a passenger. For the reasons set
forth herein, we affirm the district court’s decision to overrule
the motion to suppress.
                      BACKGROUND
  In the early morning hours of November 2, 2023, Deputy
Anthony Osborn of the Scotts Bluff County Sheriff’s
Department and Officer Tyler Weber of the Scottsbluff Police
Department were on duty and in the same vicinity as one
another. The two law enforcement officers were speaking with
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. SANCHEZ
                       Cite as 33 Neb. App. 495
each other on the telephone when Osborn observed a silver
Chevrolet Avalanche pickup truck pull out of the parking lot
of a local gas station onto East Overland Street in Scottsbluff,
Nebraska, without first signaling its turn. Osborn relayed this
information to Weber, because he knew Weber was driving on
East Overland Street.
   Weber caught up to the pickup truck and initiated a traffic
stop based upon Osborn’s observation of the truck’s turning
onto the roadway without first signaling the turn. The occu-
pants of the truck, including Sanchez (the registered owner of
the truck and its back seat passenger), each had a history of
drug-related offenses. As such, during the course of the traffic
stop, Weber employed his certified drug detection dog to sniff
for narcotics around the vehicle. The dog alerted near the rear
passenger door, and the vehicle was then searched. In Sanchez’
purse, a bag of suspected methamphetamine, a digital scale
with white residue, and an open bottle of whiskey were dis-
covered. Subsequent testing of the substance found in Sanchez’
purse revealed that it was 10.63 grams of methamphetamine.
When Sanchez was interviewed by law enforcement officers,
she admitted that she had recently started dealing metham-
phetamine and that she also used it herself on a daily basis.
Notably, the driver of the vehicle was issued a written warning
for a turn signal violation.
   On November 14, 2023, the State filed an information
charging Sanchez with four counts: possession of a controlled
substance (methamphetamine) with intent to distribute, a Class
ID felony; failure to affix a drug tax stamp, a Class IV felony;
possession of drug paraphernalia, an infraction; and possession
of an open alcoholic container in a vehicle, also an infrac-
tion. Sanchez filed a motion to suppress, asking the court to
suppress all evidence obtained as a result of the search of the
vehicle during the traffic stop. Sanchez alleged, “There was no
traffic violation that occurred thus the stop was illegal and thus
violates [Sanchez’] Constitutional protection against unreason-
able seizures . . . .”
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. SANCHEZ
                       Cite as 33 Neb. App. 495
   During the hearing on Sanchez’ motion to suppress, Osborn
testified about his observation of the pickup truck turning from
the parking lot onto the roadway without first signaling the
turn. He also indicated that he followed Weber and the pickup
truck and participated in the traffic stop and the search of
the vehicle.
   Weber testified that prior to initiating the traffic stop of the
pickup truck, he had observed the truck in various locations
throughout the night. First, he saw the pickup truck parked
across the street from a residence “known for illicit drug activ-
ity.” Shortly thereafter, he observed the truck leaving a hotel
parking lot in Scottsbluff. Then, Weber saw the truck arrive at
the gas station parking lot. At around that same time, Weber
observed “multiple people [he] recognized from prior encoun-
ters involving narcotics” at that gas station.
   During cross-examination, Weber testified that he had not
directly observed the pickup truck turning from the parking
lot onto the roadway without first signaling the turn. Instead,
he relied on Osborn’s observations. Weber also conceded that
he did not have a warrant to search the vehicle.
   After the presentation of evidence at the suppression hear-
ing, Sanchez’ counsel argued that the Nebraska statutes do not
require a person to signal a turn from a private parking lot
onto a roadway. As such, counsel asserted that there was no
traffic violation to justify Weber’s initiating a traffic stop of
the vehicle. Additionally, counsel argued that Weber was look-
ing for any reason to stop the vehicle because he “thought he
was going to get a drug bust.”
   The district court denied Sanchez’ motion to suppress. The
court found that “[f]ailing to use a turn signal is a well rec-
ognized traffic violation.” The court went on to find that pur-
suant to the language of Neb. Rev. Stat. § 60-6,161 (Reissue
2021), “a turn signal is required when exiting the gas station
parking lot onto the roadway of East Overland.” The court
concluded:
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. SANCHEZ
                       Cite as 33 Neb. App. 495
      The testimony is Deputy Osborne [sic] witnessed the
      vehicle turn onto East Overland without a turn signal.
      This is probable cause sufficient to believe that a traffic
      violation has occurred and thus the officers are justified
      in stopping the vehicle and investigating the traffic viola-
      tion. The Motion to Suppress is therefore overruled.
   A stipulated bench trial was held on May 13, 2024. The
State offered two exhibits, including a transcript of the motion
to suppress hearing and a stipulation. As a part of the stipu-
lation, Sanchez preserved “her objections made at the time
of the hearing on the Motion to Suppress and preserves her
continuing objection.” Sanchez indicated that she “would rest
without presenting any affirmative evidence.”
   Our record does not include any specific finding of guilt by
the district court. However, based on the subsequent sentenc-
ing order and the admissions of the parties in their briefs to
this court, it appears clear that Sanchez was convicted of all
four counts alleged in the information. The court sentenced her
as follows: 3 to 5 years’ imprisonment on her conviction for
possession of a controlled substance (methamphetamine) with
intent to deliver; 12 to 18 months’ imprisonment on her con-
viction for failure to affix a drug tax stamp; and a $100 fine on
each of her convictions for possession of drug paraphernalia
and possession of an open alcoholic container in a vehicle.
The sentence for count II was ordered to run concurrently with
the sentence for count I.
   Sanchez appeals her convictions here.

                  ASSIGNMENTS OF ERROR
   On appeal, Sanchez asserts generally that the district court
erred in denying her motion to suppress. Specifically, she
asserts that the district court erred in (1) finding that the driver
of the vehicle violated § 60-6,161 and that, as a result, the traf-
fic stop was justified and (2) finding that the traffic stop was
not “pretextual.”
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. SANCHEZ
                       Cite as 33 Neb. App. 495
                   STANDARD OF REVIEW
   [1,2] In reviewing a trial court’s ruling on a motion to sup-
press based on a claimed violation of the Fourth Amendment,
we apply a two-part standard of review. State v. Shiffermiller,
302 Neb. 245, 922 N.W.2d 763 (2019). Regarding historical
facts, we review the trial court’s findings for clear error. Id.But whether those facts trigger or violate Fourth Amendment
protections is a question of law that we review independently
of the trial court’s determination. State v. Shiffermiller, supra.The ultimate determinations of reasonable suspicion to conduct
an investigatory stop and probable cause to perform a war-
rantless search are reviewed de novo, and findings of fact are
reviewed for clear error, giving due weight to the inferences
drawn from those facts by the trial judge. Id.
                          ANALYSIS
   On appeal, Sanchez argues that the district court erred in
failing to grant her motion to suppress evidence for the reason
that the vehicle she was riding in was not lawfully stopped.
   [3,4] A traffic violation, no matter how minor, creates
probable cause to stop the driver of a vehicle. State v. Jasa,
297 Neb. 822, 901 N.W.2d 315 (2017). In reviewing a chal-
lenge to the legality of an automobile stop, the question is
not whether the officer issued a citation for a traffic violation
or whether the State ultimately proved the violation; instead,
a stop of a vehicle is objectively reasonable when the police
officer has probable cause to believe that a traffic violation
has occurred. Id.   Section 60-6,161 provides in pertinent part: “No person
shall turn a vehicle or move right or left upon a roadway
unless and until such movement can be made with reason-
able safety nor without giving an appropriate signal . . . .”
Roadway is defined in Neb. Rev. Stat. § 60-656 (Reissue
2021) as “that portion of a highway improved, designed, or
ordinarily used for vehicular travel, exclusive of the berm or
shoulder.” Taken together, failing to give an appropriate signal
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. SANCHEZ
                      Cite as 33 Neb. App. 495
prior to turning a vehicle upon a roadway is a traffic violation
and Weber had the legal right to stop the pickup truck if he
had probable cause to believe the pickup truck did not signal
such a turn. Probable cause is a flexible, commonsense stan-
dard that depends on the totality of the circumstances. State v.
Seckinger, 301 Neb. 963, 920 N.W.2d 842 (2018).
   Here, Osborn testified that he observed the pickup truck
turn from the gas station parking lot onto East Overland Street
without first signaling the turn. Upon relaying this information
to Weber, Weber initiated a traffic stop of the pickup truck.
Despite Osborn’s observation, however, Sanchez argues that
the failure to signal the turn from the gas station parking lot
onto the street was not, in fact, a violation of § 60-6,161:
         To be found in violation of [§] 60-6,161 one must fail
      to signal while they are driving upon a publicly main-
      tained roadway. In the instant case, the [pickup truck]
      was on the private property of [the gas station] and was
      not upon a “roadway.” . . . As there was no requirement
      to signal a turn coming out of the [gas station] parking
      [l]ot there was no traffic violation and the traffic stop
      effected by Officer Weber was illegal.
Brief for appellant at 9. The district court disagreed with
Sanchez’ reading of the language of § 60-6,161. In its order
overruling the motion to suppress, the court explained:
      Upon exiting the [gas station parking lot], the [pickup
      truck] enters on a roadway thus making [§] 60-6,161 (1)
      applicable and requiring a turn signal to turn a vehicle
      upon the roadway. Essentially if a vehicle is leaving the
      parking lot of [the gas station] going right or left, it is
      considered “turning a vehicle” upon a roadway and a sig-
      nal is needed.
   [5] Upon our careful reading of the language of § 60-6,161,
we agree with the district court that the statute provides that
no person shall turn onto a roadway without signaling the
turn. This is true whether the vehicle is initiating the turn
from a private parking lot or from another roadway. As the
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                       STATE V. SANCHEZ
                      Cite as 33 Neb. App. 495
State asserts in its brief to this court, “under § 60-6,161(1),
it does not matter where the turn was made from, because
§ 60-6,161(1) prohibits ‘turn[ing] a vehicle [] upon a road-
way [] without giving an appropriate [turn] signal.’” Brief
for appellee at 9. Here, the vehicle Sanchez was a passenger
in turned from the gas station parking lot onto a roadway. As
such, the vehicle necessarily completed the turn “upon a road-
way.” See § 60-6,161(1). Because such turn was not preceded
or accompanied by a turn signal, the driver of the vehicle
committed a traffic violation.
   Sanchez does not cite us to any Nebraska case law to support
her reading of § 60-6,161, and our independent review of the
case law has also not revealed any support for Sanchez’ posi-
tion. However, as cited in the State’s brief, the U.S. District
Court for the District of Kansas reached the same conclusion
as the district court in this case when it examined whether
motorists turning onto a public roadway from a private road-
way must activate their turn signal. See U.S. v. Callarman,
No. 00-40056-01-DES, 2000 WL 1466695 (D. Kan. Sept. 13,
2000). Notably, the Kansas statute requiring a vehicle to signal
a turn upon a roadway is almost identical to the language of
§ 60-6,161. In U.S. v. Callarman, 2000 WL 1466695 at *5,
the federal district court explained that the moment a vehicle
breaches the plane separating the parking lot from the road-
way, the vehicle is commencing a turn “‘upon a roadway.’” As
such, the court found that when a vehicle turns from a parking
lot onto a roadway, a turn signal must precede the turn or there
will be a traffic violation.
   Upon our review, we conclude that the vehicle in which
Sanchez was a passenger failed to signal its turn from the gas
station parking lot onto East Overland Street. Such failure was
a traffic violation pursuant to the language of § 60-6,161, and
Weber had probable cause to initiate a traffic stop. Sanchez’
assertions to the contrary are without merit.
   [6,7] For the sake of completeness, we address Sanchez’
additional argument that Weber’s use of the traffic signal
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
                        STATE V. SANCHEZ
                       Cite as 33 Neb. App. 495
violation was a pretextual reason to initiate the traffic stop and
that the real reason for the stop was his motivation to arrest the
occupants of the vehicle for drug possession. Nebraska case
law clearly provides that probable cause to stop a vehicle is
analyzed under an objective reasonableness standard, and thus,
an officer’s subjective intent or motivation is not relevant. See,
e.g., State v. Thalken, 299 Neb. 857, 911 N.W.2d 562 (2018).
As long as a traffic violation occurred, any purported ulterior
motive for the stop is irrelevant. State v. Nolan, 283 Neb.
50, 807 N.W.2d 520 (2012). As we found above, the vehicle
Sanchez was a passenger in committed a traffic violation when
it failed to signal its turn from the parking lot onto a roadway.
Weber had probable cause to initiate the traffic stop.
                       CONCLUSION
  We affirm the decision of the district court to deny Sanchez’
motion to suppress, and we affirm her convictions.
                                                    Affirmed.
